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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               FLORENCE DIVISION


FRANK SEARCH and ROBERT ROSE,
on behalf of themselves and all others
similarly situated,

                     Plaintiffs,

      v.                                           Docket No.: 4:18-CV-01941-RBH

MATERIAL TRANSPORT, LLC,
a domestic corporation, and
KIMBERLY M. CHERRY, an individual,

                     Defendants.


                                   NON-MILITARY AFFIDAVIT

       The undersigned, being over 18 years of age and competent to testify, states as follows on

information and belief:

       1. Defendant Kimberly M. Cherry is not in the military service of the United States.

       2. Defendant Kimberly M. Cherry is not in the military service of any nation allied with
          the United States.

       3. Defendant Kimberly M. Cherry has not been ordered to report for induction under the
          Selective Service Training and Service Act.

       I HEREBY affirm under penalty of perjury that the facts and statements contained in the

foregoing Affidavit were true and correct to the best of my knowledge, information and belief at

the time that I made them.

Dated: January 31, 2019                         Respectfully submitted,

                                                BROWN, LLC

                                                /s/ Patrick S. Almonrode
                                                Patrick S. Almonrode
                                                111 Town Square Place, Suite 400
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                                   Jersey City, NJ 07310
                                   (877) 561-0000 (office)
                                   (855) 582-5297 (fax)
                                   patalmonrode@jtblawgroup.com

                                   Attorneys for Plaintiffs
                                   Frank Search and Robert Rose




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